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                                    IPP International U.G. Declaration Exhibit A
                                     File Hashes for IP Address 76.217.228.163

ISP: AT&T Internet Services
Physical Location: Naperville, IL



Hit Date UTC            File Hash                                Title
12/22/2018 19:29:36     2A3640EDC219B2A6B0EDCAAEBDF511B050423CB5 Three is NOT a Crowd

09/09/2017 14:10:26     980B4FD30EA5274083D8465D794408EE6C33E3CF            I Cook Naked

09/02/2017 14:19:47     275FDF6B11A2E9BB6311ED7CE2CD69EF7536AE24            Hippie Chicks

02/12/2017 20:30:38     E3B203419FB0600C8FEDA0E9A4EECBB9E77576D8            Want To Fuck My Wife

09/24/2016 19:37:07     87B8A959C3C92D58BB59F19E52ADF926CE0DBAC6            Kiss From A Rose


Total Statutory Claims Against Defendant: 5




                                                    EXHIBIT A
NIL987
